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13                             UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of          DECLARATION OF R
   themselves and all others similarly situated,           B    IN SUPPORT OF
17               Plaintiffs,
                                                           PLAINTIFFS’ MOTIONS FOR
                                                           PRELIMINARY INJUNCTION
18        v.                                               AND PROVISIONAL CLASS
                                                           CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4256580.1]
           DECLARATION OF R        B   IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1         I, R       B   , declare:
 2         1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5         2.     I am incarcerated in federal prison and have been incarcerated at FCI Dublin
 6 since 2013. In the future BOP may transfer me to other BOP facilities but at any point I
 7 could be transferred back to FCI Dublin.
 8         3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of imminent serious harm
11 from sexual assault, harassment, and retaliation from staff.
12         4.     I have witnessed many incidents where leadership and others at FCI Dublin
13 engaged in blatant sexual relationships with incarcerated persons and then tried to cover it
14 up or retaliated against individuals who reported. For an extensive period, the former
15 Assistant Warden and later Warden, Ray Garcia, engaged in an ongoing sexual
16 relationship with my friend at FCI Dublin, M         . M       spoke to me often about their
17 physical relationship, I would see him go in her cell, and I observed them in multiple
18 arguments at the facility regarding their relationship. On one occasion around the Spring
19 of 2020, I was at food service in the kitchen and M        started arguing with former
20 Warden Garcia about cards and notes she had sent him. Former Warden Garcia then came
21 over to me and asked if I “could keep this one calm.” I understood Garcia was referring to
22 M         because he nodded at her and that he was asking me to help prevent people from
23 finding out more about their sexual relationship. On another occasion I saw them argue
24 about M        ’s compassionate release denial. Warden Garcia was yelling “What do you
25 want me to do? You want to go to camp? You can go to camp. You want to go to
26 Victorville? You can go to Victorville.” Which appeared to be offering her a transfer to
27 keep her quiet. I did not report anything at the time because it was the Warden himself and
28 it was obvious to me I would only be retaliated against. Generally, anyone who reports
   [4256580.1]                                  1
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 1 sexual abuse is sent to solitary confinement in the SHU. I saw this happen on multiple
 2 occasions and did not want it to happen to me.
 3         5.     Sometime during the winter of 2020 or potentially the spring of 2021, I was
 4 on my unit waiting for my friend M          H     to finish dressing after showering and
 5 come out of her cell. As I stood there, I saw Officer O’Connor open the door to Ms.
 6 H     ’s cell and stare at Ms. H    while Ms. H      was topless from the waist up and
 7 wrapped only in a towel from the waist down. Officer O’Connor stared at her for
 8 approximately a minute. He saw me watching him and I said, “what the hell are you going
 9 to do just stand there and look at her.” In response, Officer O’Connor gave me a dirty look
10 and closed the door to Ms. H       ’s room. From that point on Officer O’Connor would
11 constantly harass me. Officer O’Connor would make a point of following me anytime he
12 saw me, glaring at me, and generally making me feel uncomfortable.
13         6.     Around approximately July or August of 2021, I was in the kitchen sitting at
14 the table for dinner and Officer O’Connor came up and stood directly behind me with his
15 genitals pushed up against my shoulder. I had to lean over to look up at him because he
16 was so close, and I said “you just gotta get it in dontcha” referring to him pressing up
17 against me and harassing me. Officer O’Connor told me the kitchen was closing and I had
18 to leave right away, or I would get a shot or go to the SHU. I was confused because I had
19 just sat down to eat, and people were still moving through the line getting food, but Officer
20 O’Connor kept insisting I had to leave. Throughout this interaction another incarcerated
21 person, S      W           , was sitting across from me at the table and became nervous so
22 we got up and left. As we walked out Officer O’Connor followed us. I asked him why he
23 was always screwing with me, and he responded, “you understand, don’t take it personal.”
24         7.     The next day I was talking in education with Ms. Weischedel regarding
25 Officer O’Connor’s actions and how rude and perverted he was acting. Staff member Ms.
26 Doyle overheard us talking and came in to ask whether we felt safe and said she would
27 make a report to SIS about the fact that I no longer felt comfortable going to the kitchen. I
28 continued to try to avoid Officer O’Connor where I could, but I did not see any action
   [4256580.1]                                 2
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 1 taken in response to the report from Ms. Doyle. In March of 2022, I reported the incident
 2 involving Officer O’Connor to at least three different members of the Task Force but did
 3 not see any actions taken in response to that report either.
 4                 8.    Throughout this time Officer O’Connor continued to glare at me in an
 5 intimidating manner each time he saw me and made me feel uncomfortable and unsafe.
 6 Sometime between April and June 2022, I went to the Kitchen from my Unit to get a tray
 7 because I had not been able to go through the line initially with everyone else. Officer
 8 O’Connor was there and yelled at me that they weren’t giving out seconds. When I
 9 explained I had not gone through the first time, Assistant Food Service Director Barajas
10 gave me a tray, but I left because I was tired of dealing with Officer O’Connor’s
11 harassment.
12                 9.    I also have a medical condition that requires me to give myself enemas on a
13 regular basis, which involves having to get naked from below the waist and insert my
14 fingers into my vagina to press down in order to administer the enema into my rectum. It
15 is an awkward and uncomfortable process where my private areas are visible as I
16 administer the enema. Up until recently, I had been told the facility would house me alone
17 to prevent PREA issues and to give me a better quality of life. In November of 2022 this
18 changed, and I was called into Case Manager O’Bien’s office, and he told me I was getting
19 a roommate and told me to talk to my Unit Manager about my concerns. When I spoke to
20 my Unit Manager Officer Groover, she told me to just tell my roommate to turn their head.
21 I submitted an administrative remedy regarding this issue, but the only action taken in
22 response by the facility was to ask my roommate to leave the room when I administer the
23 enema. This is difficult because the facility only gives me twenty minutes or so of time to
24 administer the enema before my roommate comes back. This creates a humiliating and
25 dangerous situation for me due to how exposed I have to be and an awkward and
26 uncomfortable situation for my roommate. I have had one roommate who couldn’t take it
27 and asked to move out, but I was given a new roommate the following day.
28                 10.   I have to administer the enema at least once per day but sometimes more
     [4256580.1]                                        3
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 1 often. Depending on the severity of my symptoms, the process can take up to two hours.
 2 Officers walk by my window while I am giving myself the enema. While some look away,
 3 staffing is constantly changing and sometimes staff stop, stare, and question what I am
 4 doing. Staff will also not allow me to cover my window while I do it. As recently as
 5 March of 2023, Officer Cortez shined a flashlight on me while I was in my room doing it.
 6 Each time this happens I feel degraded, humiliated, and as if I am being targeted because
 7 of what I have seen and experienced at FCI Dublin.
 8          11.    When I arrived at FCI Dublin in 2013 I was shown a short, about 30-minute
 9 video on PREA. Several years later they showed an updated 30-minute video about PREA
10 but that was it. They just tell you to contact staff if you see misconduct but that is not
11 effective when staff and leadership are the ones engaging in the misconduct.
12          12.    There is no effective way to confidentially report sexual assault and abuse by
13 staff at FCI Dublin. The only methods I am aware of to report sexual assault and abuse by
14 staff are to tell staff, report to SIS, or to send an email to DOJ using the facilities
15 computers. While these messages are not supposed to be read by BOP staff the computers
16 in the facility do not have privacy screens and are positioned so that staff and other
17 incarcerated persons can see what I am typing and who I am sending it to. All other forms
18 of communication, including mail, video calls, phone calls, and email are heavily
19 monitored by BOP staff. It is also difficult to report to counsel because staff at FCI Dublin
20 limit access to legal calls and if you are placed in the SHU do not allow access to phone
21 calls or emails to be able to tell people what is happening. For a period, we could also
22 report to a BOP taskforce but that ended months ago.
23          13.    Staff at FCI Dublin prevent people from reporting sexual assault and abuse
24 by staff and retaliate against people who do report. You become an instant target. Officers
25 make comments about you, will come to your room, tear up your stuff, put you in the SHU
26 or move you to different units. I lost a job after engaging with attorneys and being
27 subpoenaed for the former Warden’s trial. I had been working at the Warden’s Complex
28 for approximately 4-6 months without any issues. Suddenly, my counselor told me she
   [4256580.1]                                4
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 1 received an email saying I should no longer go to work there without any explanation. I
 2 have never been fired from a position in prison before and believe this was done in
 3 retaliation because it happened after I began engaging with attorneys and was subpoenaed
 4 to testify at the former Warden’s trial. No one has ever been able to give me a reason for
 5 why I was fired. I had also previously helped in Education, but the facility recently took
 6 away my clerk duties saying I did “too much”, and staff needed to do those tasks instead.
 7         14.    When incarcerated persons report sexual assault and abuse by staff, FCI
 8 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
 9 delayed and overseen by staff who know and work with the offending staff member.
10 Generally nothing happens as a result. Individuals who meet with attorneys are targeted
11 for retaliation. After I and others on my unit met with attorneys on June 29, 2023, our Unit
12 Manager Craig called the whole unit to a Town Hall, when we all have to come out to
13 listen to staff. Unit Manager Craig appeared to be losing it, yelling at myself and others
14 and it made me feel afraid of what he might do.
15         15.    There is no confidential mental health care available to survivors of sexual
16 abuse and assault at FCI Dublin. There are very few mental health workers and I do not
17 feel comfortable speaking with them because the psychiatrist is married to Unit Manager
18 Craig. I need mental health care badly and have been diagnosed with clinical depression
19 and prescribed Effexor due to the stress and depression I experience due to what I have
20 seen in this facility and what I am afraid could happen to me and others in the future. My
21 hair was falling out for a while, I couldn’t sleep, and I was losing weight. I put in a request
22 to speak to providers with Tri-Valley Care but was told the list is full.
23         16.    There is little to no medical care available to survivors of sexual abuse and
24 assault at FCI Dublin. Up until recently there was no medical doctor at the facility. While
25 the facility now has a part-time doctor, until this person came medical care was done
26 through telehealth which does not allow for actual physical examinations. When the prior
27 doctor was still on site, they wrote an order for me to have an ultrasound on one of my
28 breasts. By the time my appointment came, there was no doctor at FCI Dublin anymore
   [4256580.1]                                5
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 1 and they figured out the order was accidentally written for the wrong breast. FCI could not
 2 change the order because no doctor was available to change it, so they did the ultrasound
 3 on the wrong breast. I was sent to a telehealth appointment but that doctor obviously could
 4 not effectively assess my breast. I am still waiting on the facility to send me for an
 5 ultrasound on the correct breast. There is also no dental hygienist. It took me 4 years to
 6 get my teeth cleaned. There are a very limited number of nurse practitioners/non-doctors
 7 but sometimes there is only one on-site, so it is extremely hard to get any care.
 8                 17.   Staff at FCI Dublin do not wear body-worn cameras in the facility and while
 9 the facility is now beginning to install cameras, the cameras that are installed are enclosed
10 in dark colored glass and it is impossible to tell where they are pointing or whether they
11 are working.
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     [4256580.1]                                       6
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